Case: 2:19-cv-01976-JLG-CMV Doc #: 124 Filed: 02/14/22 Page: 1 of 1 PAGEID #: 6622




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


MENG HUANG,
                                                     Case No. 2:19-cv-1976
                       Plaintiff,
       v.                                            Judge James L. Graham

THE OHIO STATE UNIVERSITY, et al.,                   Magistrate Judge Chelsey M. Vascura

                       Defendants.

                                             ORDER

       All further proceedings in this case shall be STAYED. The current dates for final pretrial

conference and trial are hereby VACATED. Plaintiff shall retain new counsel within sixty (60)

days of the date of this Order. Once Plaintiff’s new counsel enter their appearances, the Court will

grant present counsel’s motion to withdraw. The Court will then hold a scheduling conference to

discuss any further proceedings necessary in this case.



       IT IS SO ORDERED.
                                                             /s/ James L. Graham
                                                             JAMES L. GRAHAM
                                                             United States District Judge

DATE: February 14, 2022
